29TH JUDICIAL DISTRICT COURT FOR PARISH OF ST. CHARLES

STATE OF LOUISIANA
) ‘ att 7
) Secti _
IN RE JPSO ITEM NO. A-15489-20 ) Hon, Timothy Marcel =
) Item No. 2000381 : Ss
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ler 88
FILED: DEPUTY CLERK: _Y
ORDER 5 ‘

Having considered the foregoing Motion to Quash Search Warrant,

IT IS HEREBY O D that any warrant issued under Item No. A-15489-20 is

hereby quasted stayed.

IT IS FURTHER ORDERED that all documents responsive to any warrant issued under

Item No. A-15489-20 and all documents relevant or related to the death of the minor E.P. shall

be preserved and not destroyed or otherwise altered, including those in the custody of the St.

Charles Parish School Board.
IT IS FURTHER ORDERED that ST. CHARLES PARISH SHERIFF’S OFFICE to

show cause on the @ day of Ferg WAH. __, 2020 at 2:00 o’clock amen.)

15489-20 should not be quashed.

why the search warrant issued under Item No. A-

Signed this Z I day of JAuwe{ , 2020, Hahnville, Louisiana.

OF LQUISIANA
